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                                                UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF KENTUCKY
                                                        AT LOUISVILLE
                                                      (Filed Electronically)

                         CRIMINAL ACTION NO. 3:23MJ-317
                         UNITED STATES OF AMERICA,
                                                                                                    PLAINTIFF,

                         vs.


                         KELVIN ANDERSON,                                                         DEFENDANT.




                                                                   ORDER

                                The Federal Defender having moved the Court for leave to withdraw as appointed

                         counsel for the defendant, Kelvin Anderson; Hon. Ashlea Hellman having entered her

                         appearance herein as retained counsel of record; and the Court being sufficiently advised,

                                IT IS ORDERED AND ADJUDGED that the Federal Defender, Scott T.

                         Wendelsdorf be, and it hereby is, granted leave to withdraw as counsel for the defendant,

                         and is hereby relieved of all further responsibility herein.




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